Case 2:24-cv-00782-cr Document 51 Filed 09/23/24 Page 1 of 7

ET Ta elamel Ba MilmeorlecteMlame) +) elSsiaremiilelt (ey
1CoR-Jt-\ Vai gelan mote al ir-|e)

Appendix A

melee] | ste dey fe)
BK) Wey ANSE NTN =t BIGUB)I Nic) ait

Hello folks:

| need a few extra days to respond to Schwab's motion to stay as | went
to my account and none of my messages back and forth from me to TDA
revolving around the MMTLP issues are there any more. By rule Schwab
has to maintain them in an easily accessible place for 2 years. I'd like to

have them. | messaged Schwab to repopulate the account.

If you guys could motivate your client to dump them in quickly I'd
appreciate it.

Please call if you have any questions.
Thanks,

Scott
802-318-0429

Sent with Proton Mail secure email.

PAUtR XS 4: ie

| da BRSSott Tas gle) ay40Y2-ScOlceay-E-l aeACKMISE-VY Relate

Case 2:24-cv-00782-cr Document 51 Filed 09/23/24 Page 2 of 7

tlt MA « Mele) (elitlanee (iii foe te Se. one
ie) yo) koY/ ko WU) =7-U2dN 70210161) B) IN bs) it O1@)\\/ MmE- | celct-101 6) 101 881)\6 || 0 RN

Sn Tg

Good morning, Mr. Traudt. If you need more time to write your
opposition brief, we would be willing to agree to a short additional
extension as long as our responsive pleading deadline is also extended
by the same number of days. However, | do not think that your
customer service messages with Schwab or TDA have anything to do
with the enforcement of your arbitration agreements, and | cannot
agree to any delay that is based on their availability or non-availability.

Best,

Jeff Goldman

Morgan, Lewis & Bockius LLP

One Federal Street | Boston, MA 02110-1726

Direct: +1.617.951.8941 | Main: +1.617.341.7700 | Fax: +1.617.341.7701

jeff.goldman@morganlewis.com | www.morganlewis.com

Case 2:24-cv-00782-cr Document 51 Filed 09/23/24 Page 3 of 7

reli] INCA ¢ Mcleitey to) d(C ne.
ae) (€To)(olnat-la vere) =) AMO) s7-V dN 7-\ "001 @)) B) I) hc) ot @1@)\"/ Pume-) he s<t-1 0] 0) | 6 umm

op ee

Atty. Goldman: can you advise your client to restore the customer
service messages ASAP? The rule explicitly states “easily accessible
for 2 years." If not | need to file for an extension until they are restored
as they play a huge role in my arbitration arguments.

Thanks,
Scott

Sent from Proton Mail Android

pa: Ago eae

Tantclels.0.On more

Case 2:24-cv-00782-cr Document 51 Filed 09/23/24 Page 4 of 7

maelen 1 clothes to) i (A CAM LSS]

ie) (©re)(olnnr-]apeel-1aMmmee) s¥0 "iN 7-0-1) COB) | \ bo) oi @1 ©) \"/ Pec] ge 1c1-1 8) 0) | pm a

Schwab told me they deleted all my emails from when | was with TDA. |
conside this speciation and destruction of evidence. My sense is they
also deleted audio recordings critical to my case in or out of
arbitration.

If you guys don't think this important or want to consult with your
clients about this let me know either way. As it stands I'll be in court at
Yam to seek an emergency stay of proceedings on these grounds.

Thanks,

Scott Traudt
802 318 0429

Sent from Proton Mail Android

7h AY bo 34 = ata)

Taatcketsae en] exe)

Case 2:24-cv-00782-cr Document 51 Filed 09/23/24 Page 5 of 7

From: Scott <SCT545@proton.me>

Sent: Monday, September 16, 2024 9:43 AM

To: Goldman, Jeff <jeff.goldman@morganlewis.com>;
JBARNARD@DINSE.COM; arosenblum@dinse.com; Escobedo,
Felipe <felipe.escobedo@morganlewis.com>

Subject: Re: RE: Extension of time for cause in opposing motion to
stay from Schwab

Last chance - can you guys please confirm that my audio recordings
with Fleming no longer exist? These were the 20 March 2023
recordings regarding MMTLP.

Thank,
Scott Traudt
802 318 0429

Sent from Proton Mail Android

BOY weeE ee ae ee Ee

Case 2:24-cv-00782-cr Document 51 Filed 09/23/24 Page 6 of 7

trelt Moe : Cle) (olnat-aMl-iii een San Came CHOP,
iis 104 hoy So MmnN) 570241 -¥24 1 CUB) | \ bo) ot @1@) \¥/ ammr-] getcr=1a] 6) 16] 001 (lle || a em

Sl eee ce CE

Mr. Traudt, | do not know the answer to this or any of your other
questions about documents. | do know that you agreed
comprehensively to arbitrate any disputes you might have with
Schwab, including any dispute as to the scope or enforceability of
your arbitration agreement. Any requests you may wish to make for
discovery of documents can be addressed if and when you file an
arbitration claim.

Best regards,

Jeff Goldman

Morgan, Lewis & Bockius LLP

One Federal Street | Boston, MA 02110-1726

Direct: +1.617.951.8941 | Main: +1.617.341.7700 | Fax: +1.617.341.7701

jeff.goldman@morganlewis.com | www.morganlewis.com

Case 2:24-cv-00782-cr Document 51 Filed 09/23/24 Page 7 of 7

sees 00 isy. dai CA CNY,
Ke) (@fe)(olpat-]ammel 1h fumes) s7-¥edh 2124 B1 CoB) 1) fc) ait @1 ©) \V/ Pamr=] ge 1-1>) 8) ©) | 0 eum

Sage ee vg

Your client has admitted to destroying evidence. Unless you make a
move to restore the documents and audios | will consider it destroyed.
It would have been admissible in arbitration and litigation.

I'll assume your answer is simply that no effort will be made on
Schwab's part and thus I'll consider it as destroyed as per the email.

Scott

Sent from Proton Mail Android

Va ko 4)

so Bere eeapyere

